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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

                                  Case No.: 8:20-cv-00448-WFJ-TGW

 STEVEN J. RUBINSTEIN, et al.,

         Plaintiffs,
 v.

 TONY JAMES MICHAEL KELLY, et al,

       Defendants.
 ____________________________/

      NOTICE OF VOLUNTARY DISMISSAL OF DEFENDANTS BRAD MASON, SEAN
       CAGLE, TODD REGAN ELLIOTT, ELLIOTT FINANCIAL GROUP, INC., AND
            ELLIOTT FINANCIAL ADVISORS, LLC WITHOUT PREJUDICE

         Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs hereby voluntarily

 dismiss their claims against Defendants Family Tree Estate Planning, LLC, Jason Paul Wooten,

 Tim LaDuca, Brad Mason, Sean Cagle, Todd Regan Elliott, Elliott Financial Group, Inc., Elliott

 Financial Advisors, LLC, Ronald Stevenson, American Financial Investments, LLC and American

 Financial Security LLC in the above-entitled action without prejudice. This notice of dismissal is

 filed before the Court before service by Defendants of either an answer or a motion for summary

 judgment.

 Date: May 22, 2020                           Respectfully submitted,

                                              By: s/ Adam M. Moskowitz
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                               CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that a true and correct copy of the foregoing was served via the
 Federal Court’s CM/ECF Filing System on all counsel or parties of record on May 20, 2020.

                                            By: /s/ Adam Moskowitz
                                               Adam M. Moskowitz, Esq.




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